           Case 8:20-cv-01148-PWG Document 35 Filed 06/19/20 Page 1 of 1



                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF MARYLAND

        CHAMBERS OF                                                        6500 CHERRYWOOD LANE
       PAUL W. GRIMM                                                     GREENBELT, MARYLAND 20770
UNITED STATES DISTRICT JUDGE                                                      (301) 344-0670
                                                                                (301) 344-3910 FAX




                                        June 19, 2020



RE: R.V. et al v. Mnuchin et al
    PWG 20-cv-1148


                                      AMENDED LETTER ORDER
Dear Parties:

       Please be advised the Court has rescheduled the telephone status conference call on July
17, 2020 at 1:00pm. Parties are directed to dial in on the designated date and time. The dial in
information is as follows:
Dial-In Number: (877) 848-7030
Access Code: 9549728
Participant Password: 071720
        Although informal, this is an Order of the Court and shall be docketed as such.


                                                            Sincerely,

                                                                   /S/
                                                            Paul W. Grimm
                                                            United States District Judge




ast
